                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      at WINCHESTER


UNITED STATES OF AMERICA                              )
                                                      )       Case No. 4:08-cr-25
vs.                                                   )
                                                      )       JUDGE MATTICE
AARON SHAW                                            )       MAGISTRATE JUDGE LEE


                                            ORDER


       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the nine-count

indictment; (2) accept Defendant’s plea of guilty to the offense charged in Count One, that is of

conspiracy to distribute and possess with intent to distribute five grams or more of a mixture and

substance containing cocaine base in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B); (3) adjudicate

Defendant guilty of the offense charged in Count One, that is of conspiracy to distribute and possess

with intent to distribute five grams or more of a mixture and substance containing cocaine base in

violation of 21 U.S.C. §§ 846 and 841(b)(1)(B); (4) defer a decision on whether to accept the plea

agreement until sentencing; and (5) find Defendant shall remain in custody until sentencing in this

matter [Doc. 59]. Neither party filed a timely objection to the report and recommendation. After

reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation

[Doc. 59] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment




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            is GRANTED;

      (2)   Defendant’s plea of guilty to the offense charged in Count One, that is of conspiracy

            to distribute and possess with intent to distribute five grams or more of a mixture and

            substance containing cocaine base in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B)

            is ACCEPTED;

      (3)   Defendant is hereby ADJUDGED guilty of the offense charged in Count One, that

            is of conspiracy to distribute and possess with intent to distribute five grams or more

            of a mixture and substance containing cocaine base in violation of 21 U.S.C. §§ 846

            and 841(b)(1)(B);

      (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

            and

      (4)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on Monday, July 13, 2009 at 9:00 a.m. before the

            Honorable Harry S. Mattice, Jr.

      SO ORDERED.

      ENTER:


                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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